      Case: 1:23-cv-01745 Document #: 1 Filed: 03/21/23 Page 1 of 16 PageID #:1




                       IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                    EASTERN DIVISION
____________________________________
                                         )
Albert Koetsier,                         )    Case No.:23-cv-1745
                                         )
              Plaintiff,                 )
       v.                                )    Judge:
                                         )
Does 1-486, As Identified in Exhibit 2,  )
                                         )    Magistrate:
              Defendants.                )
____________________________________)


                                             COMPLAINT

        Albert Koetsier (“Plaintiff”), hereby files this Complaint for copyright infringement

against Defendants, on personal knowledge as to Plaintiff’s own activities and on information

and belief as to the activities of others:

                                             THE PARTIES

1.      Plaintiff is an individual residing in California.

2.      Plaintiff is the creator of various famous artworks and has obtained copyright registration

        for his expressive works, here focused on x-ray crystal photography of flowers or other

        botanical objects (hereafter “Copyrighted Works”). A true and accurate copy of

        Plaintiff’s copyright registrations for Plaintiff’s Copyrighted Works is attached as Exhibit

        1.

3.      The Copyrighted Works is being infringed by a cabal of foreign counterfeiters intent on

        exploiting unknowing online consumers. This infringing behavior harms Plaintiff.
     Case: 1:23-cv-01745 Document #: 1 Filed: 03/21/23 Page 2 of 16 PageID #:2




4.    Defendants, identified in Exhibit 2, are all believed to be individuals and unincorporated

      business associations who, upon information and belief, reside in foreign jurisdictions.

      The true names, identities, and addresses of Defendants are currently unknown.

5.    Defendants conduct their illegal operations through fully interactive commercial websites

      hosted on Amazon.com, and other websites (“Infringing Websites” or “Infringing

      Webstores”). Each Defendant targets consumers in the United States, including the State

      of Illinois, and has offered to sell and, on information and belief, has sold and continues

      to sell counterfeit and/or infringing products that violate Plaintiff’s intellectual property

      rights (“Counterfeit Products”) to consumers within the United States, including the State

      of Illinois and the Northern District of Illinois. Defendants have the capacity to be sued

      pursuant to Federal Rule of Civil Procedure 17(b).

6.    Through the operation of their Infringing Webstores, Defendants are directly and

      personally contributing to, inducing and engaging in the sale of Counterfeit Products as

      alleged, often times as partners, co-conspirators, and/or suppliers.

7.    Upon information and belief, Defendants are an interrelated group of counterfeiters and

      infringers working in active concert to knowingly and willfully manufacture, import,

      distribute, offer for sale, and sell Counterfeit Products. Attached as Exhibit 3 is a true and

      accurate copy of the suspected manufacturer located in China and offering the infringing

      products sold by the Defendants. Attached as Exhibit 4 is a true and accurate copy of a

      machine translated copy of Exhibit 3.

8.    Defendants intentionally conceal their identities and the full scope of their counterfeiting

      operations in an effort to deter Plaintiff from learning Defendants’ true identities and the

      exact interworking of Defendants’ illegal counterfeiting and infringing operations. The
      Case: 1:23-cv-01745 Document #: 1 Filed: 03/21/23 Page 3 of 16 PageID #:3




       identities of these Defendants are presently unknown. If their identities become known,

       Plaintiff will promptly amend this Complaint to identify them.

9.     Defendants have created the Defendant Internet Stores, operate under one or more

       aliases, and are advertising, offering for sale and selling Counterfeit Products to

       unsuspecting consumers. Defendant Internet Stores share unique identifiers, establishing

       a logical relationship between them and suggesting that Defendants’ counterfeiting

       actions arise out of the same transaction or occurrence, or series of transactions or

       occurrences.

10.    Defendants are primarily Chinese and all market counterfeit products and/or market their

       products that infringe the patent of Plaintiff. On information and belief, all Defendants

       source their goods from a common manufacturer or consortium of manufacturers under

       the direction or influence of local or national governments.

                                    JOINDER OF DEFENDANTS

11.    On information and belief, Defendants are an interrelated group of infringers working in

       active concert to knowingly and willfully make, use, offer for sale, sell, and/or import

       into the United States for subsequent sale or use infringing products in the same

       transaction, occurrence, or series of transactions or occurrences. Defendants, without any

       authorization or license from Plaintiff, have jointly and severally, knowingly and

       willfully made, used, offered for sale, sold, and/or imported into the United States for

       subsequent resale or use products that infringe directly and/or indirectly Plaintiff’s

       Copyrighted Works. Each e-commerce store operating under the aliases by the

       Defendants offers shipping to the United States, including Illinois, and, on information
      Case: 1:23-cv-01745 Document #: 1 Filed: 03/21/23 Page 4 of 16 PageID #:4




       and belief, each Defendant has sold Counterfeit Products into the United States and

       Illinois over the Internet.

12.    Upon information and belief, each of the Defendants, are working in active concert with

       an unknown manufacturing entity located in China to knowingly and willfully make, use,

       offer for sale, sell, and/or import into the United States for subsequent sale or use the

       same infringing product.

13.    There are questions of fact common to all Defendants. All Defendants are infringing the

       Copyrighted Works by making, selling, and/or importing the same infringing product into

       the United States. Upon information and belief, the accused products are sourced from

       the unknown manufacturing entity acting in concert with each of the Defendants. Each of

       the Defendants are selling the same product manufactured by the unknown

       manufacturing entity. By selling the same accused product, each of the Defendants are

       infringing the claim of the Copyrighted Works in the same way.

                                     JURISDICTION AND VENUE

14.    This Court has original subject matter jurisdiction over this action pursuant to 28 U.S.C.

       §§ 1331 and 1338 because the claim in this action is brought under the Copyright Act, 17

       U.S.C. § 101, et seq. This Court has jurisdiction, pursuant to the principles of

       supplemental jurisdiction and 28 U.S.C. § 1367, over Plaintiff’s claims for unlawful and

       deceptive acts and practices under the laws of the State of Illinois.

15.    This Court has personal jurisdiction over Defendants in that they transact business in the

       State of Illinois and in the Northern District of Illinois.

16.    Venue is proper in this District pursuant to 28 U.S.C. §§ 1391 and 1400 in that the

       Defendants are entities or individuals subject to personal jurisdiction in this District.
      Case: 1:23-cv-01745 Document #: 1 Filed: 03/21/23 Page 5 of 16 PageID #:5




       Venue is also proper in this District because a substantial part of the events or omissions

       giving rise to the claims occurred in this District and Defendants directly target business

       activities towards consumers in the State of Illinois. Specifically, Defendants have

       targeted sales to Illinois residents, offered shipping to the United States, including

       Illinois, accepted payment in U.S. dollars and, on information and belief, have sold

       products infringing Plaintiff’s patent to residents of Illinois. Each of the Defendants is

       committing tortious acts in Illinois, is engaging in interstate commerce, and has

       wrongfully caused Plaintiff substantial injury in the State of Illinois.

                                      BACKGROUND FACTS

17.    Plaintiff is engaged in the business of creating, licensing, and marketing Plaintiff’s

       various creative works throughout the world, including within the Northern District of

       Illinois District (collectively, “Plaintiff’s Products). Defendants’ sales of unlicensed

       copies of Plaintiff’s Products (“Counterfeit Products”) are in violation of Plaintiff’s

       intellectual property rights and are irreparably damaging Plaintiff.

18.    Plaintiff is the owner of all rights, title, and interest in and to, the Copyrighted Works.

       Plaintiff’s registration of the Copyrighted Works is valid, subsisting, and enforceable.

19.    Plaintiff’s Product, symbolized by the Copyrighted Works, is a unique and original

       design.

20.    Plaintiff’s Products have been widely promoted, both in the United States and throughout

       the world. The whole of the consuming public recognizes Plaintiff’s Products as

       originating with Plaintiff, but also recognizes that Plaintiff’s Products sold in the United

       States originate exclusively from Plaintiff.
      Case: 1:23-cv-01745 Document #: 1 Filed: 03/21/23 Page 6 of 16 PageID #:6




21.    As of the date of this filing, Plaintiff’s Products are sold throughout the nation including

       on third-party platforms.

22.    Plaintiff maintains quality control standards for all of Plaintiff’s products, including those

       marketed under Plaintiff’s Copyrighted Works.

23.    Plaintiff’s Products marketed under the Copyrighted Works have generated significant

       revenue for Plaintiff. Plaintiff’s Products have become a symbol of excellence, and an

       expectation of quality uniquely associated with Plaintiff.

24.    The copyright registration for the Copyrighted Works has never been assigned or licensed

       to any of the Defendants in this matter.

25.    Further, Plaintiff has expended substantial time, money, and other resources developing,

       advertising, marketing, and otherwise promoting products marketed under the

       Copyrighted Works.

26.    Upon information and belief, at all times relevant hereto, Defendants in this action have

       had full knowledge of Plaintiff’s ownership of the Copyrighted Works, including his

       exclusive right to use and license such intellectual property.

27.    Plaintiff has identified products being marketed and sold using images covered by the

       Copyrighted Works on the Infringing Webstores and felt the impact of Counterfeit

       Products designed to resemble authorized retail Internet stores selling the genuine

       Plaintiff’s Product that Defendants had reproduced, displayed, and distributed without

       authorization or license from Plaintiff in violation of the Copyrighted Works.

28.    Defendants’ use of the Copyrighted Works on or in connection with the advertising,

       marketing, distribution, offering for sale, and sale of the Counterfeit Products is likely to
      Case: 1:23-cv-01745 Document #: 1 Filed: 03/21/23 Page 7 of 16 PageID #:7




       cause and has caused confusion, mistake, and deception by and among consumers and is

       irreparably harming Plaintiff.

29.    Defendants have copied, distributed, manufactured, imported, distributed, offered for

       sale, and sold Counterfeit Products infringing the Copyrighted Works and continue to do

       so.

30.    Defendants, without authorization or license from Plaintiff, knowingly and willfully used

       and continue to use the Copyrighted Works in connection with the advertisement, offer

       for sale, and sale of the Counterfeit Products, through, inter alia, the Internet. The

       Counterfeit Products are not genuine products sold by Plaintiff under the Copyrighted

       Works. The Plaintiff did not manufacture, inspect, or package the Counterfeit Products

       and did not approve the Counterfeit Products for sale or distribution. Each Infringing

       Webstore offers shipping to the United States, including Illinois, and, on information and

       belief, each Defendant has sold Counterfeit Products into the United States, including

       Illinois.

31.    Defendants directly steal or copy Plaintiff’s artwork and sell it as mass produced prints.

       There is no clearer example of copyright infringement.

32.    Defendants go to great lengths to conceal their true identities and often use multiple

       fictitious names and addresses to register and operate the Infringing Webstores. Upon

       information and belief, Defendants regularly create new Webstores on various platforms

       using the identities listed in Exhibit 2 of the Complaint, as well as other unknown

       fictitious names and addresses. Such registration patterns are one of many common

       tactics used by the Defendants to conceal their identities, the full scope and interworking

       of their illegal counterfeiting operations, and to prevent the Infringing Webstores from
      Case: 1:23-cv-01745 Document #: 1 Filed: 03/21/23 Page 8 of 16 PageID #:8




       being disabled.

33.    Even though Defendants operate under multiple fictitious names, there are numerous

       similarities among the Defendant Internet Stores. For example, some of the Defendant

       Internet Stores use identical or equivalent language to sell products.

34.    In addition, the products for sale in the Defendant Internet Stores infringing the

       Copyrighted Works bear similarities and indicia of being related to one another,

       suggesting that the unauthorized products were manufactured by and come from a

       common source and that, upon information and belief, Defendants are interrelated.

35.    The Defendant Internet Stores also include other notable common features, including

       common payment methods, lack of contact information, identically or similarly appearing

       products, identical or similarly priced items and volume sales discounts, and the use of

       the same text and images.

36.    Upon information and belief, Defendants will continue to register or acquire listings for

       the purpose of infringing the Copyrighted Works to selling products unless preliminarily

       and permanently enjoined.

37.    Plaintiff has no adequate remedy at law.

                                       COUNT ONE
                               COPYRIGHT INFRINGEMENT
                                  (17 U.S.C. § 101 et seq.)
38.    The Plaintiff repeats and realleges the foregoing allegations above as if fully set forth

       herein.

39.    Plaintiff’s Copyrighted Works constitute creative, original works of authorship, fixed in a

       tangible medium of expression, and protectable under U.S. copyright law. See 17 U.S.C.

       § 102.
      Case: 1:23-cv-01745 Document #: 1 Filed: 03/21/23 Page 9 of 16 PageID #:9




40.    Plaintiff is the owner of each valid and enforceable copyright registration certificate in

       Plaintiff’s Exhibit 1 representative of each asserted Copyrighted Work.

41.    Defendants do not have any ownership interest in, or license to, Plaintiff’s Copyrighted

       Works.

42.    Without authorization from Plaintiff, or any right under the law, Defendants have

       willfully copied, reproduced, publicly displayed, and distributed, either copies and/or

       variations of Plaintiff’s Copyrighted Works, in connection with their operation of the

       Defendant Internet Stores and the sale of products.

43.    Defendants have individually, as well as jointly and severally, infringed and continue to

       infringe Plaintiff’s Copyrighted Works in violation of 17 U.S.C. § 501(a).

44.    Defendants reap the benefits of their unauthorized reproduction, public display, and

       distribution, of Plaintiff’s Copyrighted Works through their receipt of substantial

       revenue, including substantial profit, driven by sales of their products using product

       listings that infringe Plaintiff’s Copyrighted Works.

45.    Defendants have unlawfully appropriated Plaintiff’s protectable expression by taking

       material of substance and value and creating product listing materials for their products

       that capture the total concept and feel of Plaintiff’s Copyrighted Works.

46.    The Defendants have willfully and deliberately infringed Plaintiff’s Copyrighted Works.

       The Defendant’s infringement of Plaintiff’s Copyrighted Works is obvious and notorious.

       The Defendants have no good faith basis that the images utilized do not infringe

       Plaintiff’s Copyrighted Works. Defendants’ infringement has been willful, intentional,

       malicious, and purposeful, and in disregard of, and with indifference to, Plaintiff’s rights.

47.    Defendants, by their actions, have caused financial injury to Plaintiff in an amount to be
      Case: 1:23-cv-01745 Document #: 1 Filed: 03/21/23 Page 10 of 16 PageID #:10




        determined at trial.

48.     Defendants’ conduct is causing, and unless enjoined and restrained by this Court will

        continue to cause, Plaintiff irreparable injury that cannot fully be compensated for or

        measured monetarily. Plaintiff has no adequate remedy at law for such injury.

49.     In light of the foregoing, Plaintiff seeks: (i) temporary, preliminary, and permanent

        injunctive relief prohibiting further infringement of Plaintiff’s copyright by Defendants

        pursuant to 17 U.S.C. § 502; and (ii) monetary relief in the form of statutory damages,

        attorneys’ fees, and costs.

                                         COUNT TWO
                                    UNFAIR COMPETITION
                                  (Lanham Act, 15 U.S.C. § 1125)
50.     The Plaintiff repeats and realleges the foregoing allegations above as if fully set forth

        herein.

51.     All Defendants misrepresented and failed to disclose material facts related to Plaintiff’s

        Copyrighted Works including, but not limited to:

           a. That their offerings were unauthorized reproductions;

           b. Their lack of relationship and unaffiliation with Plaintiff, the official creator of

                  Plaintiff’s Copyrighted Works;

           c. The counterfeit nature of the Defendants’ products offered.

52.     By manufacturing, importing, exporting, advertising, marketing, promoting, distributing,

        displaying, offering for sale, selling, and/or otherwise dealing in the Counterfeit Products,

        Defendants have actually offered and did ship goods in interstate commerce.

53.     Likewise, by manufacturing, importing, exporting, advertising, marketing, promoting,

        distributing, displaying, offering for sale, selling, and/or otherwise dealing in the
      Case: 1:23-cv-01745 Document #: 1 Filed: 03/21/23 Page 11 of 16 PageID #:11




        Counterfeit Products, Defendants have traded off the extensive goodwill of Plaintiff and

        Plaintiff’s Copyrighted Works to induce, and did induce and intends and will continue to

        induce, customers to purchase their Counterfeit Products, thereby directly competing with

        Plaintiff. Such conduct has permitted and will continue to permit Defendants to make

        substantial sales and profits based on the goodwill and reputation of Plaintiff, which

        Plaintiff has amassed through nationwide marketing, advertising, sales, and cumulative

        consumer recognition.

54.     Defendants’ advertising, marketing, promotion, distribution, display, offering for sale,

        sale, and/or otherwise dealing in the Counterfeit Products was and is in violation and

        derogation of Plaintiff’s rights and is likely to cause confusion and mistake, and to

        deceive consumers and the public as to the source, origin, sponsorship, or quality of

        Defendants’ Counterfeit Products.

55.     Defendants knew, or by the exercise of reasonable care should have known, that their

        advertising, marketing, promotion, distribution, display, offering for sale, sale, and/or

        otherwise dealing in the Counterfeit Products and their continuing advertising, marketing,

        promotion, distribution, display, offering for sale, sale, and/or otherwise dealing in the

        Counterfeit Products would cause confusion and mistake, or deceive purchasers, users

        and the public.

56.     As a direct and proximate result of Defendants’ aforementioned wrongful actions,

        Plaintiff has been and will continue to be deprived of substantial sales of his products

        marketed under Plaintiff’s Copyrighted Works, as well as other similar products.

57.     The Plaintiff has no adequate remedy at law and, if the Defendants’ activities are not

        enjoined, Plaintiffs will continue to suffer irreparable harm and injury to his goodwill and
      Case: 1:23-cv-01745 Document #: 1 Filed: 03/21/23 Page 12 of 16 PageID #:12




        reputation.

58.     As a result of Defendants’ actions alleged herein, Plaintiff is entitled to injunctive relief,

        an order granting Plaintiff’s damages and Defendants’ profits stemming from their

        infringing activities, and exemplary or punitive damages for Defendants’ intentional

        misconduct in amounts to be determined at trial.

                                 COUNT THREE
                  ILLINOIS UNIFORM DECEPTIVE TRADE PRACTICES
                                  (815 ILCS 510)
59.     The Plaintiff repeats and realleges the foregoing allegations above as if fully set forth

        herein.

60.     The Counterfeit Products sold and offered for sale by Defendants are of the same nature

        and type as the Plaintiff’s products sold and offered for sale by the Plaintiff and, as such,

        Defendants’ use is likely to cause confusion to the general purchasing public.

61.     By misappropriating and using the Plaintiff’s Copyrighted Works, Defendants

        misrepresent and falsely describe to the general public the origin and source of the

        Counterfeit Products and create a likelihood of confusion by consumers as to the source

        of such merchandise.

62.     Defendants’ unlawful, unauthorized and unlicensed manufacture, distribution, offer for

        sale and/or sale of the Counterfeit Products creates express and implied

        misrepresentations that the Counterfeit Products were created, authorized or approved by

        the Plaintiff, all to the Defendants’ profit and to the Plaintiff’s great damage and injury.

63.     Defendants’ aforesaid acts are in violation of the Illinois Uniform Deceptive Trade

        Practices Act, 815 ILCS 510/2 et seq., in that Defendants’ use of the Plaintiff’s

        Copyrighted Works in connection with their goods and services in interstate commerce,
      Case: 1:23-cv-01745 Document #: 1 Filed: 03/21/23 Page 13 of 16 PageID #:13




         constitutes a false designation of origin and unfair competition.

64.      Plaintiff has no adequate remedy at law and, if the Defendants’ activities are not

         enjoined, the Plaintiff will continue to suffer irreparable harm and injury to its goodwill

         and reputation.

65.      As a result of Defendants’ actions alleged herein, Plaintiff is entitled to injunctive relief,

         an order granting Plaintiff’s damages and Defendants’ profits stemming from its

         infringing activities, and exemplary or punitive damages for Defendants’ intentional

         misconduct in amounts to be determined at trial.

                                      PRAYER FOR RELIEF

WHEREFORE, the Plaintiff prays for judgment against Defendants in favor of the Plaintiff on

all counts as follows:

      1. A judgment against Defendants as to infringement of the Copyrighted Works;

      2. That Defendants, their affiliates, officers, agents, servants, employees, attorneys,

         confederates, and all persons acting for, with, by, through, under or in active concert with

         them be temporarily, preliminarily, and permanently enjoined and restrained from

         reproducing, publicly displaying, and distributing, Plaintiff’s Copyrighted Works and all

         colorable imitations thereof, and in assisting third-parties in such activity, pursuant to 17

         U.S.C. § 502;

      3. That Defendants destroy all copies of Plaintiff’s Copyrighted Works and Counterfeit

         Products and all colorable imitations thereof made by, or made under the control of,

         Defendants;

      4. That Plaintiff be awarded statutory damages based on Defendants’ willful copyright

         infringement, pursuant to 17 U.S.C. § 504(c)(2), in an amount of $150,000 per infringed
Case: 1:23-cv-01745 Document #: 1 Filed: 03/21/23 Page 14 of 16 PageID #:14




   work;

5. That Plaintiff be awarded its reasonable attorneys’ fees and costs pursuant to 17 U.S.C. §

   505;

6. Preliminary and permanent injunctions enjoining Defendants and their officers, directors,

   agents, servants, affiliates, employees, subsidiaries, parents, licensees, assigns, and

   customers, and all others acting in concert or participation with them, from further acts of

   infringing, inducing infringement, and/or contributing to the infringement of Copyrighted

   Works, or selling Counterfeit Products including:

       a. shipping, delivering, holding for sale, distributing, returning, transferring or

           otherwise moving, storing or disposing of in any manner products or inventory

           not manufactured by or for Plaintiff, nor authorized by Plaintiff to be sold or

           offered for sale, in connection with the Copyrighted Works or any reproductions,

           counterfeit copies, or colorable imitations thereof;

       b. using, linking to, transferring, selling, exercising control over, or otherwise

           owning or operating the Infringing Webstores, listings, or any other domain name

           that is being used to sell or is the means by which Defendants could continue to

           sell Counterfeit Products;

       c. operating and/or hosting websites at the Infringing Webstores and any other

           domain names registered or operated by Defendants that are involved with the

           distribution, marketing, advertising, offering for sale, or sale of any product

           marketed with the Copyrighted Works or any reproduction, counterfeit copy or

           colorable imitation thereof that is not a genuine product or not authorized by

           Plaintiff to be sold;
Case: 1:23-cv-01745 Document #: 1 Filed: 03/21/23 Page 15 of 16 PageID #:15




       d. possessing any product or any reproduction, counterfeit copy or colorable

           imitation thereof that is not a genuine product or not authorized by Plaintiff to be

           sold in connection with the Copyrighted Works. As part of compliance with this

           provision, we ask that Defendants or those who possess Defendants’ infringing

           goods, segregate and destroy infringing goods;

       e. competing unfairly with Plaintiff in any manner;

       f. passing off, inducing or enabling others to sell or pass off any Counterfeit

           Products as genuine products made and/or sold by the Plaintiff;

       g. committing any acts calculated to cause consumers to believe that Defendants’

           Counterfeit Products are those sold under the authorization, control, or

           supervision of Plaintiff, or are sponsored by, approved by, or otherwise connected

           with Plaintiff; and

       h. using the Plaintiff’s Copyrighted Works or any reproduction, counterfeit, copy or

           colorable imitation of the Plaintiff’s Product in connection with the distribution,

           advertising, offer for sale and/or sale of merchandise not the genuine products of

           the Plaintiff; and

7. That Defendants account for and pay over to Plaintiff any and all profits realized by

   Defendants by reason of Defendants’ unlawful acts herein alleged;

8. An award of pre-judgment and post-judgment interest on the damages caused by

   Defendants’ infringing activities and other conduct complained of herein;

9. An award of reasonable attorneys’ fees and costs incurred in connection with this action;

10. That Defendants, within ten days after service of judgment with notice of entry thereof

   upon them, be required to file with the Court and serve upon the Plaintiff’s a written
Case: 1:23-cv-01745 Document #: 1 Filed: 03/21/23 Page 16 of 16 PageID #:16




   report under oath setting forth in detail the manner in which Defendants have complied

   with any and all injunctive relief ordered by this Court;

11. Entry of an order that, upon Plaintiff’s request, those in privity with Defendants and those

   with notice of the injunction, including any Internet search engines, Webstore hosts or

   their administrators that are provided with notice of the injunction, cease facilitating

   access to any or all webstores through which Defendants engage in the sale of Counterfeit

   Products in connection with the Copyrighted Works; and

12. Grant Plaintiff such other and further legal relief as may be just and proper.

Dated:     March 21 2023                                  Respectfully Submitted,

                                                          By:             /s/ Rishi Nair
                                                                                      Rishi Nair
                                                                              IARDC # 6305871
                                                                     Keener & Associates, P.C.
                                                                161 N. Clark Street, Suite #1600
                                                                              Chicago, IL 60601
                                                                                 (312) 375-1573
                                                                    rishi.nair@keenerlegal.com
